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        Case 1:11-cv-02564-LBS   123-2 Filed
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        Case 1:11-cv-02564-LBS   123-2 Filed
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        Case 1:11-cv-02564-LBS   123-2 Filed
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        Case 1:11-cv-02564-LBS   123-2 Filed
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        Case 1:11-cv-02564-LBS   123-2 Filed
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        Case 1:11-cv-02564-LBS   123-2 Filed
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        Case 1:11-cv-02564-LBS   123-2 Filed
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